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EXHIBIT Z

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
IN RE: PHARMACEUTICAL )
INDUSTRY AVERAGE WHOLESALE ) MDL NO. 1456
PRICE LITIGATION ) CIVIL ACTION:
THIS DOCUMENT RELATES TO ) O1-CV-12257-PBS
U.S. ex rel. Ven-A-Care of ) Judge Patti B. Saris
the Florida Keys, Inc. v. )
Abbott Laboratories Inc., ) Chief Magistrate Judge
No. 07-CV-11618-PBS ) Marianne B. Bowler
HIGHLY CONFIDENTIAL
CONTINUED VIDEOTAPED 30(b) (6) DEPOSITION OF
JOHN M. LOCKWOOD, M.D.
Volume II
(Taken by Defendant Abbott Laboratories Inc.)
April 24, 2009
9:44 a.m.
Suite 800
1420 Peachtree Street, N.E.
Atlanta, Georgia

Reported by: F. Renee Finkley, RPR, CRR, CLR,

CCR-B-2289

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it is. It says it's a product listing catalog and
the date is here, and the cover says that it's
AmerisourceBergen over-the-counter and, I guess,
prescription drug price list.

Q. At any time did Ven-A-Care provide any
information about the named Ery NDCs to the OIG?

MR. BREEN: You're including anybody in
the OIG in that question?

THE WITNESS: I would say that in regards
to the OIG, we started sending information to
the OIG in, I think, July of 1999 regarding
concerns about drugs that -- and oral drugs that
if they had had accurate price reporting,
Meaning an accurate WAC price reported, a real
WAC price, meaning the actual transaction WAC
prices reported, that the FUL would have been a
different number than what it was.

So we started interacting with the OIG on
that subject or that topic, and it really
culminated in, I think, my discovery in 2000
that there was a similar problem with these Ery

drugs. And when we went to talk about these

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drugs as we were adding them to the Boston
complaint, my recollection is the people in the
room at that time included members of the
Department of Justice and the OIG and a number
of other government officials. So they were
part of that meeting that occurred.

I think 1/18 or 1/19 of 2001 we dida
Power Point that -- where we discussed other
issues, but we discussed the Ery drugs that we
were adding to the complaint within the
following month, as I recall. I could check the
date that we filed the first amended complaint
in Boston that included the Ery drugs. But we
discussed the drugs that were added at that time
with the members of the OIG and DOJ.

And one of the factors that we discussed
in particular was really a follow-up to our
discussions about the FUL and drugs that, had
they been accurately reported, it was part of
that whole thing that we were doing and the OIG
was present.

Q. (By Mr. Berlin) Who from the OIG was

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there's a question there.

Q. (By Mr. Berlin) Prior to September 2000,
did you express to anyone in the -- you being
Ven-A-Care, anyone from Ven-A-Care express to anyone
in the federal government that you believed that
Abbott's Ery drugs -- that Abbott had misreported
prices on Abbott's Ery drugs?

A. I would say that we started talking with
Mr. Stephens about these issues in the August to
September time frame, however, you know, I think
we -- we delivered catalogs, including the McKesson
catalog in its entirety for November, I think, of '99
and the Bergen printouts from '98 and '99, to the OIG
in the form of Mary Reardon and the Department of
Justice earlier in 2000 so that there was information
regarding the Ery drugs in that -- in those catalogs
and in those printouts. And we referenced some of
that information during, I guess, my more intensive
look at this issue that, the best of my knowledge,
started somewhere in August or September of 2000 in
regards to these Ery drugs.

Q. I think I may have the slide show of the

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presentation you made in January 2001. Let me just
take 30 seconds and see if I can find it.

MR. BREEN: Just for the record, we have
designated that and all these preliminary
communications highly confidential, and I would
designate any discussions about the substance of
those to be highly confidential in the -- in
the -- in the deposition so the Department of
Justice has a chance to decide how they want to
handle it. Why don't we go off the record so
we're not just burning tape.

THE VIDEOGRAPHER: We're off the record at
10:37 a.m.

(A recess was taken.)

(Exhibit Lockwood Ery 011 was
marked for identification.)

THE VIDEOGRAPHER: This is the beginning
of tape number two. The time is 10:46 a.m. and
we're back on the record.

Q. (By Mr. Berlin) Dr. Lockwood, I've put in
front of you Exhibit Number 11. Is that the

presentation to which you were referring to earlier?

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A. Yes, sir.

Q. And for the record, could you read the
title of it out loud?

A. 18 January 2001, Presentation to
United States Attorney's Office, District of
Massachusetts, Drug Price Reporting Fraud by Dey,
Warrick, Roxanne, and Bristol, Causes Injury to
Medicare and Medicaid Programs, Ven-A-Care of the
Florida Keys, Inc., and Wampler Buchanan & Breen,
P.A.

Q. What did you understand to be the purpose
of this presentation?

A. These were companies that we had filed a
lawsuit on in, as I recall, March or April of 2000 in
Boston. And the U.S. Attorney's Office in
discussions with our attorneys and us were very
interested in updates on those companies in
particular and we had agreed to discuss those and
prepare information on those and then discuss new
defendants that we would be adding, and so we did a
Power Point presentation on these.

Q. Was there a separate Power Point

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presentation or any sort of written presentation made
about Abbott?

A. Well, the -- we discussed Abbott. As I --
my recollection is we met -- we started meeting in
the morning and we did this Power Point presentation
and then in the afternoon we discussed the new cases
that we were going to be adding. And I had a laptop
with the Econolink system on it which we left for
them and I showed it to the people in the room and
then they had me go and work with an OIG -- or not --
well, he's an auditor. I don't know actually. I
think he was a Department of Justice auditor, but a
fellow named Paul Restigian.

And as I recall, there was a junior DOJ
lawyer that kind of looked over our shoulders, but I
spent several hours that afternoon showing and
explaining to Mr. Restigian and that lawyer how the
Econolink system worked, how to make it work. I
think we had two updates to it at that time and gave
them a disk and showed them how to install and what
to do and basically gave them a multiple-hour

tutorial on how it worked; showed them various things

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they could do, how it could be updated.

So I was doing that and our lawyers were
discussing issues associated with this presentation
and with the new drugs in the afternoon with the
people in the room.

Q. What other defendants or what other
manufacturers did you discuss in the afternoon in
addition to Abbott and the manufacturers listed in
the Power Point presentation?

A. I would probably need to look at some
Materials to give you the answer to that.

Q. What materials would you look at?

A. Our amended complaint that was the first
amended complaint and to make sure that I tell you
the correct manufacturers, cause we were there to
present information on those people prior to doing
the amendment.

Q. And you referred in your testimony just
before the break that there was another issue and the
DOJ recommended that you split it into two. What was
the other issue to which you were referring?

MR. BREEN: I'm going to object on the

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